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1N THE UNITED STATES DISTRICT CoURT m ,,,.._] ,
FoR THE WESTERN DISTRICT oF TENNESSEE “‘“'L 1 Y ab 8= 35
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_ lf`t» F'¢IE¢"»a-“-'f~uz':'
LYNELL MARCUS BUTLER, "
Plaintiff, Pro Se,
v. No. 03-2650 D/P

SHELBY COUNTY GOVERNMENT,
CORRECTIONAL MEDICAL SERVICES, INC.,
OTHER UNKNOWN DEFENDANTS,

SHERIFF MARK LUTTREL,

CONTRACTOR FOR PEST CONTROL,
UNKNOWN HEALTHCARE PROVIDERS,
UNKNOWN PRISON STAFF,

UNKNOWN DEFENDANTS,

Defendants.

 

CONSENT ORDER OF` SUBSTITUTION OF COUNSEL

 

COME NOW the parties, by and through their respective counsel, and do hereby
consent and agree that KATHERINE M. ANDERSON of The Hardison LaW Firrn1 P.C. may
be hereby substituted for GREGORY A. ZISKIND as counsel of record for the defendants

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that KATHERINE
M. ANDERSON of The Hardison Law Firm, P.C. is hereby substituted for GREGORY A.

ZISKIND as counsel of record for the defendant in this matter.

 

JUDGE

DATE: Toaq \l¢', gwo.(

 

 

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APPROVED:

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ldAT"HE`RINE M ANDERSON (BPR #13142)

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(901) 525-8776

 

Debbie Fessenden

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Shelby County Attorney

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-" L~ ) ipc 7
Mr. RandallB Tolley /
Attorney i`or plaintiffs ,,

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Notice of Distribution

This notice confirms a copy of the document docketed as number 87 in
case 2:03-CV-02650 Was distributed by faX, mail, or direct printing on
June 17, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

